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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 UNITED STATES OF AMERICA                       )
                                                )
                        v.                      )           CAUSE NO.: 2:16-CR-22-JVB-JEM
                                                )
 ELISSA SALAZAR,                                )
                        Defendant.              )

         FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
            UPON A PLEA OF GUILTY BY DEFENDANT ELISSA SALAZAR

 TO:     THE HONORABLE JOSEPH S. VAN BOKKELEN,
         UNITED STATES DISTRICT COURT

         Upon Defendant Elissa Salazar’s request to enter a plea of guilty pursuant to Rule 11 of the

 Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge John E.

 Martin on August 24, 2016, with the consent of Defendant Salazar, counsel for Defendant Salazar,

 and counsel for the United States of America.

         The hearing on Defendant Salazar’s plea of guilty was in full compliance with Federal Rule

 of Criminal Procedure 11 before the Magistrate Judge in open court and on the record.

         In consideration of that hearing and the statements made by Defendant Salazar under oath

 on the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for Defendant Salazar,

         I FIND as follows:

         (1) that Defendant Salazar understands the nature of the charge against her to which the plea

 is offered;

         (2) that Defendant Salazar understands her right to trial by jury, to persist in her plea of not

 guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and her

 right against compelled self-incrimination;
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        (3) that Defendant Salazar understands what the maximum possible sentence is, including

 the effect of the supervised release term, and Defendant Salazar understands that the sentencing

 guidelines apply and that the Court may depart from those guidelines under some circumstances;

        (4) that the plea of guilty by Defendant Salazar has been knowingly and voluntarily made

 and is not the result of force or threats or of promises;

        (5) that Defendant Salazar is competent to plead guilty;

        (6) that Defendant Salazar understands that her answers may later be used against her in a

 prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Salazar’s plea; and further,

        I RECOMMEND that the Court accept Elissa Salazar’s plea of guilty to the offenses

 charged in Count 1 of the Indictment and that Defendant Salazar be adjudged guilty of the offenses

 charged in Count 1 of the Indictment and have a sentence imposed. A Presentence Report has been

 ordered. Should this Report and Recommendation be accepted and Defendant Salazar be adjudged

 guilty, sentencing before Judge Joseph S. Van Bokkelen will be set at a later date by separate order.

 Objections to the Findings and Recommendation are waived unless filed and served within fourteen

 (14) days. See 28 U.S.C. § 636(b)(1).

        So ORDERED this 24th day of August, 2016.

                                                        s/ John E. Martin
                                                        MAGISTRATE JUDGE JOHN E. MARTIN
                                                        UNITED STATES DISTRICT COURT
 cc:    All counsel of record
        Honorable Joseph S. Van Bokkelen
